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 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     REBECCA A. LEVY
 3   Assistant Federal Public Defender
     411 E. Bonneville, Ste. 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
     Rebecca_Levy@fd.org
 6
 7   Attorney for Jose Guillermo Tello-Albarran

 8
                                UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:19-cr-00133-APG-VCF-12

12                 Plaintiff,                            STIPULATION TO CONTINUE
                                                         ARRAIGNMENT AND PLEA
13          v.
                                                         HEARING
14   JOSE GUILLERMO TELLO-ALBARRAN,                      (First Request)

15                 Defendant.

16
17          IT   IS    HEREBY        STIPULATED         AND      AGREED,     by    and    between
18   Nicholas A. Trutanich, United States Attorney, and Kevin Douglas Schiff, Assistant United
19   States Attorney, counsel for the United States of America, and Rene L. Valladares,
20   Federal Public Defender, and Rebecca A. Levy, Assistant Federal Public Defender, counsel for
21   Jose Guillermo Tello-Albarran, that the Arraignment and Plea Hearing currently scheduled on
22   May 30, 2019 at 10:00 a.m., be vacated and continued to June 7, 2019 at 3:00 p.m.
23          This Stipulation is entered into for the following reasons:
24          1.     Defense counsel will be out of the district at the Defender’s Conference.
25          2.     The defendant is in custody and agrees with the need for the continuance.
26          3.     The parties agree to the continuance.
     Case 2:19-cr-00133-APG-MDC           Document 54        Filed 05/24/19      Page 2 of 3




 1        This is the first request for a continuance of the Arraignment and Plea hearing.
 2        DATED this 24th day of May, 2019.
 3
 4   RENE L. VALLADARES                            NICHOLAS A. TRUTANICH
     Federal Public Defender                       United States Attorney
 5
 6     /s/ Rebecca A. Levy                           /s/ Kevin Douglas Schiff
     By_____________________________               By_____________________________
 7   REBECCA A. LEVY                               KEVIN DOUGLAS SCHIFF
     Assistant Federal Public Defender             Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

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     UNITED STATES OF AMERICA,                          Case No. 2:19-cr-00133-APG-VCF-12
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     JOSE GUILLERMO TELLO-ALBARRAN,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the Arraignment and Plea hearing currently

11   scheduled for Thursday, May 30, 2019 at 10:00 a.m., be vacated and continued to Friday,

12   June 7, 2019 at the hour of 2:30 p.m., in courtroom 3C.

13          DATED this 24th of May, 2019.

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                                                 NANCY J. KOPPE
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                                                 UNITED STATES MAGISTRATE JUDGE
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